                                                                                                                    June 08, 2006

          VIA FAX TO 907-586-7852 AND FIRST-CLASS MAIL


          USDA Forest Service
          Attn: Debbie Anderson, Regional FOIA Coordinator
          P.O. Box 21628
          Juneau, AK 99802

          RE: FOIA Request for documents relating to the Forest Service’s Review of Juneau Access
          Improvements Project

          Dear Ms. Anderson:

          The Southeast Alaska Conservation Council (SEACC) and Alaska Transportation Priorities
          Project (ATPP) submit this request for records pursuant to Freedom of Information Act, 5 U.S.C.
          § 552.

          On April 3, 2006, the Federal Highway Administration (FHWA) signed a Record of Decision
          (ROD) selecting Alternative 2B as the proposed action for the Juneau Access Improvements
          Project. On May 4, 2006, FHWA submitted to the United States Forest Service an application
          for an easement along the right-of-way for the selected alternative. On May 22, 2006, the Forest
          Service submitted two letters to FHWA. In one, it “concurs with the FHWA” in the decision
          made in the ROD. In the other, the Forest Service “agrees to the appropriation and transfer” of
          the requested lands pursuant to 23 U.S.C. § 317. Prior to the May 22 letters, the Forest Service
          authorized brushing and clearing along the proposed right-of-way. No public notice or
          opportunity to comment was provided regarding the Forest Service’s actions in issuing those
          letters or in deciding to authorize the earlier clearing of the right-of-way on national forest lands.
          This request seeks documents that will help the requestors and public understand the process by
          which the Forest Service reached those decisions, the factors it considered, and the weight
          accorded those factors.

          Specifically, we request records generated, received, kept and/or considered by the Forest
          Service in:

                    1) deciding to “concur with the FHWA” in the decision made in the ROD, as stated in
                    the May 23, 2006 letter;

          ALASKA SOCIETY OF AMERICAN FOREST DWELLERS, Point Baker • ALASKANS FOR JUNEAU • CHICHAGOF CONSERVATION COUNCIL, Tenakee
  • FRIENDS OF BERNERS BAY, Juneau • FRIENDS OF GLACIER BAY, Gustavus • JUNEAU AUDUBON SOCIETY • JUNEAU GROUP SIERRA CLUB • LOWER CHATHAM
CONSERVATION SOCIETY, Port Alexander • LYNN CANAL CONSERVATION, Haines • NARROWS CONSERVATION COALITION, Petersburg • LISIANSKI INLET RESOURCE
 COUNCIL, Pelican • PRINCE OF WALES CONSERVATION LEAGUE, Craig • SITKA CONSERVATION SOCIETY • TONGASS CONSERVATION SOCIETY, Ketchikan • TAKU
                     CONSERVATION SOCIETY, Juneau • WRANGELL RESOURCE COUNCIL • YAKUTAT RESOURCE CONSERVATION COUNCIL
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       2) deciding to “agree” to the transfer of lands under 23 U.S.C. § 317 for purposes of
       constructing Alternative 2B for the Juneau Access Improvements project as stated in the
       May 23, 2006 letter; and
       3) authorizing clearing, brushing, or any other felling of any trees along the proposed
       right-of-way prior to the date of this request.

For purposes of this request, the records we seek include: copies of all memoranda, studies,
reports, data, correspondence, comments, conversation records, files, electronic mail records, or
other documents, which have been generated, received, kept and/or considered by the Forest
Service. This request does not include copies of the Juneau Access Improvements Draft
Environmental Impact States, Supplemental Draft Environmental Impact Statement, Final
Supplemental Environmental Impact Statement, Technical Appendices, ROD, or any other
information already available on the Alaska Department of Transportation and Public Facilities,
FHWA, or Forest Service websites. Please do not include copies of the following letters
previously made available to SEACC or ATPP:

       1. File 2730-2: May 22, 2006 letter to David C. Miller, FWHA, from Regional Forester
       Dennis E. Bschor
       2. File 1950-4: May 22, 2006 letter to David C. Miller, FWHA from Regional Forester
       Dennis E. Bschor
       3. File 1950-4/7710-4: May 3, 2006 letter to David C. Miller, FWHA, from District
       Ranger Pete Griffin, seeking clarification of field work currently underway.
       4. File 1950-4: August 17, 2005 letter to Van Sundberg, Alaska Dept. of Transportation
       and Public Facilities, from District Ranger Pete Griffin, discussing the request of
       approval for a reconnaissance survey in four locations.

We request that all relevant documents be made available to the public through this FOIA
request. Further, should the USFS claim that any documents, or portions thereof, covered by this
request are exempt from production under the FOIA, please produce a comprehensive index of
those documents. That log should contain, at a minimum, each document’s title, author, and date
of production, as well as an explanation of the reasons for which the USFS is withholding it.

Pursuant to 5 U.S.C. § 552(a)(4)(A)(iii), SEACC and ATPP seek a waiver of all fees associated
with this request. Justification for a full fee waiver include:

       1. The FOIA request seeks information pursuant to USFS management of public
       resources and oversight of activities on USFS land, pursuant to the Tongass Land
       Management Plan, associated with the Juneau Access Improvements Project.

       2. Disclosure of the requested records will significantly contribute to public
       understanding. The requestors are public-interest organizations, whose core missions
       involve protecting the environment, public resources, and human health by, among other
       mechanisms, monitoring government management of public lands, encouraging public
       participation in government processes, and ensuring enforcement of applicable public
       laws. We have a long history of evaluating information similar to that requested here
       and disseminating it to the public through a variety of means.


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       3. Disclosure will contribute to the public understanding of government activities. The
       records will inform the public about agency decisions, provide insight into the agency’s
       decision-making processes, and potentially highlight competing views that exist within
       the agency.

       4. All requestors are nonprofit groups with no commercial interest in the requested
       records.

Thank you for your time and attention to this matter. Please do not hesitate to contact me at 586-
6942 should you have questions regarding the scope of this request or wish to discuss a suitable
arrangement for producing the requested records expeditiously.

Best regards,




Buck Lindekugel
Conservation Director




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